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                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                   IN THE UNITED STATES DISTRICT COURT              November 30, 2023
                    FOR THE SOUTHERN DISTRICT OF TEXAS               Nathan Ochsner, Clerk
                             HOUSTON DIVISION


MAGÇMÂ TECHNOLOGY LLC,                 §
                                       §
                   Plaintiff,          §
                                       §
v.                                     §       CIVIL ACTION NO. H-20-2444
                                       §
PHILLIPS 66, PHILLIPS 66 CO.,          §
and WRB REFINING L.P.,                 §
                                       §
                   Defendants.         §



                       MEMORANDUM OPINION AND ORDER

       This action was filed by plaintiff, Magçmâ Technology LLC

(“Magçmâ”), against defendants, Phillips 66, Phillips 66 Company,

and WRB Refining L.P. (collectively, “Defendants”), under the

Patent Act of the United States, 35 U.S.C. § 101, et seq., for

alleged infringement of four United States Patents for refining

marine fuel oil.1       A seven-day jury trial was conducted between

June 26 and July 6, 2023,2 at which time infringement of only two


       1
      Complaint for Patent Infringement (“Plaintiff’s Complaint”),
Docket Entry No. 1.
       2
      See Minute Entry for First Day of Jury Trial, June 26, 2023,
Docket Entry No. 238; Minute Entry for Second Day of Jury Trial,
June 27, 2023, Docket Entry No. 241; Minute Entry for Third Day of
Jury Trial, June 28, 2023, Docket Entry No. 244; Minute Entry for
Fourth Day of Jury Trial, June 29, 2023, Docket Entry No. 246;
Minute Entry for Fifth Day of Jury Trial, June 30, 2023, Docket
Entry No. 250; Minute Entry for Sixth Day of Jury Trial, July 5,
2023, Docket Entry No. 253; and Minute Entry for Seventh Day of
Jury Trial, July 6, 2023, Docket Entry No. 257. See also Trial
Transcript Day 1, Docket Entry No. 284; Trial Transcript Day 2,
Docket Entry No. 285; Trial Transcript Day 3, Docket Entry No. 286;
                                                     (continued...)
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patents remained at issue: (1) United States Patent No. 10,308,884

(“the ’884 Patent”), entitled “Heavy Marine Fuel Oil Composition,”

issued     on   June   4,   2019;3   and   (2)   United    States    Patent

No. 10,604,709 (“the ’709 Patent”), entitled “Multi-Stage Device

and Process for Production of a Low Sulfur Heavy Marine Fuel Oil

from Distressed Heavy Fuel Oil Materials,” issued on March 31,

2020.4     The jury found no infringement of either patent,5 and on

July 6, 2023, the court entered a Final Judgment (Docket Entry

No. 263) ordering that Magçmâ take-nothing from the Defendants.

Pending before the court is Magçmâ’s Rule 59 Motion for New Trial

(“Magçmâ’s MNT”) (Docket Entry No. 292), Defendants’ Response to

Plaintiff’s Rule 59 Motion for a New Trial (“Defendants’ Response

to Magçmâ’s MNT”) (Docket Entry No. 293), and Magçmâ’s Reply in

Support of Its Rule 59 Motion for New Trial (“Magçmâ’s Reply”)

(Docket Entry No. 294).      For the reasons stated below Magçmâ’s MNT

will be denied.




     2
      (...continued)
Trial Transcript Day 4, Docket Entry No. 287; Trial Transcript Day
5, Docket Entry No. 288; Trial Transcript Day 6, Docket Entry
No. 289; and Trial Transcript Day 7, Docket Entry No. 290.
     3
         Exhibit 1 to Plaintiff’s Complaint, Docket Entry No. 1-1.
     4
         Exhibit 3 to Plaintiff’s Complaint, Docket Entry No. 1-3.
     5
      Verdict Form, Docket Entry Nos. 262 (redacted, and 262-1
(unredacted).

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  I. Technical Background and the Alleged Infringement at Issue

A.     Technical Background

       The asserted patents teach a process for making low sulfur

heavy marine fuel oil (“HMFO”) that complies with two industry

standards: (1) International Standards Organization 8217:2017 (“ISO

8217:2017”); and (2) Revised Annex VI to MARPOL (the International

Convention for the Prevention of Pollution from Ships).                   ISO

8217:2017 contains standards for bulk properties of marine fuels,

which are organized into two families: “Distillate marine fuels”

identified in ISO 8217 Table 1 (“Table 1”), which are not covered

by the claims of the asserted patents; and “Residual marine fuels”

identified in ISO 8217 Table 2 (“Table 2”), which are covered by

the claims of the asserted patents.6           Table 2 sets forth sixteen

physical properties for “Residual marine fuels,” only one of which

is at issue in the pending motion: flash point.            Revised Annex VI

to MARPOL reduced the maximum sulfur content of marine fuels from

3.5% by weight to 0.5% effective 2020 (“IMO 2020”).             The asserted

patents involve hydroprocessing (or hydrotreating) ISO 8217:2017

Table 2 compliant HMFO with a sulfur content greater than 0.5%, to

reduce the sulfur to less than 0.5% to comply with the IMO 2020

Sulfur Cap.

       6
      ISO 8217 Sixth Edition 2017-03, pp. 8-11, Plaintiff’s Trial
Exhibit 13, Docket Entry No. 272-5, pp. 14-17, and Defendants’
Trial Exhibit 10, Docket Entry No. 267-3, pp. 14-17. Page numbers
for docket entries in the record refer to the pagination inserted
at the top of the page by the court’s electronic filing system,
CM/ECF.

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       In general, hydroprocessing (or hydrotreating) exposes liquid

petroleum     products   to   hydrogen      at   elevated   temperatures      and

pressures in the presence of a catalyst to promote the chemical

change of sulfur into hydrogen sulfide gas that can be removed from

the liquid petroleum products.        Important to the pending motion is

that ISO 8217 Table 2 requires a minimum flash point of 60E C (140E

F).7       Flash point represents the lowest temperature at which a

liquid will form a vapor in the air near its surface that will

“flash” or briefly ignite when exposed to an open flame, thus

indicating the flammability or combustability of a liquid.8



B.     Alleged Infringement at Issue

       Magçmâ argues that a new trial is warranted because

       evaluating the evidence, [Defendants’] trial tactics, and
       the ultimate verdict of the jury — demonstrates
       substantial justice has not been done. When properly
       focused on the actual claim language as construed, the
       overwhelming weight of evidence demonstrates that
       [Defendants’] Bayway Refinery infringes Claims 1 and 5 of
       the ’884 Patent.    Magçmâ seeks a new trial on these
       grounds . . .9



       7
      Id. at 4, Plaintiff’s Trial Exhibit 13, Docket Entry No. 272-
5, p. 10, and Defendants’ Trial Exhibit 10, Docket Entry No. 267-3,
p. 10.
       8
      See Memorandum Opinion and Order, Docket Entry No. 204,
p. 17.
       9
      Magçmâ’s MNT, Docket Entry No. 292, p. 9.             See also Magçmâ’s
Reply, Docket Entry No. 294, p. 3.

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Claims 1 and 5 of the ’884 Patent state:

     1.   A low sulfur heavy marine fuel oil, consisting
     essentially of a 100% hydroprocessed high sulfur heavy
     marine fuel oil, wherein prior to hydroprocessing the
     high sulfur heavy marine fuel oil is compliant with ISO
     8217:2017 and is of merchantable quality as a residual
     marine fuel oil but has a sulfur content (ISO 14596 or
     ISO 8754) greater than 0.5% wt. and wherein the low
     sulfur heavy marine fuel oil is compliant with ISO 8217:
     2017 and is of merchantable quality as a residual marine
     fuel oil and has a sulfur content (ISO 14596 or ISO 8754)
     less than 0.5 wt %.

                                   . . .

     5.   A low sulfur hydrocarbon fuel composition consisting
     essentially of: a majority by volume of a 100%
     hydroprocessed high sulfur residual marine fuel oil and
     a minority by volume of Diluent Materials, wherein prior
     to hydroprocessing the high sulfur heavy marine fuel oil
     is compliant with ISO 8217:2017 but has a sulfur content
     (ISO 14596 or ISO 8754) greater than 0.5% wt %; and
     wherein the low sulfur heavy marine fuel composition is
     compliant with ISO 8217:2017 and has a sulfur content
     (ISO 14596 or ISO 8754) less than 0.5 wt %; . . .10

The inventors named in the ’884 Patent are Bertrand R. Klussmann

(“Klussmann”) and Michael J. Moore (“Moore”).

        Defendants argue that a new trial is not warranted because

Magçmâ failed to raise at trial all but one of the issues on which

its MNT is based, and because all of the issues raised in the MNT

lack merit.11




     10
      ’884 Patent, Exhibit 1 to Plaintiff’s Complaint, Docket Entry
No. 1-1, p. 18 (emphasis added).
     11
          Defendants’ Response to Magçmâ’s MNT, Docket Entry No. 293,
p. 6.

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                           II. Standard of Review

     Magçmâ    seeks   a   new   trial   citing   Federal   Rule   of   Civil

Procedure 59(a)(1), and Riverwood International Corp. v. R.A. Jones

& Co., Inc., 324 F.3d 1346, 1352 (Fed. Cir. 2003).            In pertinent

part Rule 59 states that “the court may, on motion, grant a new

trial . . . on all or some of the issues . . . to any party . . .

for any reason for which a new trial has heretofore been granted in

an action at law in federal court.”         Fed. R. Civ. P. 59(a)(1)(A).

In Jones, 324 F.3d at 1352, the Federal Circuit held that regional

circuit law applies to the procedural aspects of motions for new

trial.   In this circuit a new trial may be granted under Rule 59(a)

if the court finds that “the verdict is against the weight of the

evidence, . . . the trial was unfair, or prejudicial error was

committed in its course.” Wellogix, Inc. v. Accenture, L.L.P., 716

F.3d 867, 881 (5th Cir. 2013), cert. denied, 134 S. Ct. 2725 (2014)

(quoting Smith v. Transworld Drilling Co., 773 F.2d 610, 613 (5th

Cir. 1985)).

     In making this determination, the district court weighs
     all the evidence, but need not view it in the light most
     favorable to the nonmoving party. While the court is to
     respect the jury’s collective wisdom and must not simply
     substitute its opinion for the jury’s, “[i]f the trial
     judge is not satisfied with the verdict of a jury, he has
     the right—and indeed the duty—to set the verdict aside
     and order a new trial.”

Smith, 773 F.2d at 613 (citation omitted).          The Fifth Circuit has

explained that “[a] new trial will not be granted based on trial

error unless, after considering the record as a whole, the court

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concludes that manifest injustice will result from letting the

verdict stand.” Learmonth v. Sears, Roebuck and Co., 631 F.3d 724,

731 (5th Cir. 2011). “[T]he burden of showing harmful error rests

on the party seeking the new trial.”        Sibley v. Lemaire, 184 F.3d

481, 487 (5th Cir. 1999), cert. denied, 120 S. Ct. 1420 (2000)

(quoting Del Rio Distributing, Inc. v. Adolph Coors, Co., 589 F.2d

176, 179 n. 3 (5th Cir.), cert. denied, 100 S. Ct. 80 (1979).



                              III. Analysis

     Asserting that the jury’s verdict of no infringement is

against the great weight of the evidence, Magçmâ argues that a              new

trial is warranted because Defendants (1) repeatedly contradicted

the court’s claim construction order, (2) argued limitations that

are not found in the claims, (3) violated the court’s order

excluding inadmissible evidence, (4) introduced legal error by

improperly comparing its refinery processes to the Rigby Process;

and (5) engaged in trial tactics that misled the jury.12 Defendants

respond that a new trial is not warranted for any of these asserted

reasons because Magçmâ failed to raise most of them at trial, and

because all of them are meritless.13




     12
          Magçmâ’s MNT, Docket Entry No. 292, p. 2.
     13
          Defendants’ Response to Magçmâ’s MNT, Docket Entry No. 293,
p. 6.

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A.     Defendants Did Not Contradict the Claim Construction Order

       Citing the testimony of Dennis Vauk (“Vauk”) and Dr. Edward

Sughrue       (“Dr.   Sughrue”),   Magçmâ   argues   that   a   new   trial   is

warranted because these defense witnesses repeatedly undermined and

contradicted the court’s construction of “HMFO.”14              In support of

this argument Magçmâ cites Exergen Corp. v. Wal-Mart Stores, Inc.,

575 F.3d 1312, 1321 (Fed. Cir. 2009), for holding that “[n]o party

may contradict the court’s construction to a jury,”15 and Cytologix

Corp. v. Ventana Medical Systems, Inc., 424 F.3d 1168, 1172 (Fed.

Cir. 2005), for holding that “expert testimony at trial ‘opin[ing]

on claim construction before the jury’ and counsel’s ‘argu[ing]

conflicting claim constructions to the jury’ were ‘improper’ due to

the high ‘risk of confusing the jury.’”16               Magçmâ argues that

Defendants’

       trial presentation flouted the Court’s construction and
       sought to back-door its previously-rejected construction
       to the jury through other improper comparisons. This is
       prejudicial error due to the high degree of risk that it
       misled the jury to improperly find non-infringement based
       not on the Court’s construction, but on [Defendants’]
       construction.17




       14
      Magçmâ’s MNT, Docket Entry No. 292, pp. 11-13.                  See also
Magçmâ’s Reply, Docket Entry No. 294, pp. 8-9.
       15
            Id. at 11.
       16
            Id. at 13.
       17
            Id.

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        Defendants respond that no new trial is warranted on this

basis because “[n]either of the witnesses’ challenged testimony

drew any objection from Magçmâ,”18 and because neither witness

contradicted the court’s claim construction order.19

        The court’s claim construction order construed the term “HMFO”

to mean “a petroleum product fuel compliant with the ISO 8217:2017

standards for the bulk properties of residual marine fuels except

for the concentration levels of the Environmental Contaminates.”20

The court’s construction favored one of Magçmâ’s proposals and

rejected Defendants’ proposals, which sought to define “HMFO” based

on    the      presence   of   “process   residue   that   has    not   boiled   or

vaporized even at vacuum conditions.”21

        Magçmâ complains that despite stating at docket call “we’re

not going to be making arguments that because what is being

hydrotreated at Bayway is lacking a residue, that that’s a reason

to     avoid      infringement,”22    Vauk,     Phillips   66’s     director     of

hydroprocessing technology,23 testified that the patent claims


        18
             Defendants’ Response to Magçmâ’s MNT, Docket Entry No. 293,
p. 8.
        19
             Id. at 9-10.
        20
             Memorandum Opinion and Order, Docket Entry No. 50, pp. 17,
38.
        21
             Id. at 12.
        22
      Magçmâ’s MNT, Docket Entry No. 292, p. 11 (quoting Transcript
of Docket Call Proceedings, Docket Entry No. 216, p. 18:10-13).
        23
             Trial Transcript Day 2, Docket Entry No. 285, p. 2-166:23-25.

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require a residue.    Magçmâ’s MNT quotes only a few lines of Vauk’s

testimony.24   But when read together with the lines immediately

before and after the quoted lines, Vauk’s testimony is clearly an

expression of his personal opinion solicited by Magçmâ’s counsel,

and is not testimony that either undermined or contradicted the

court’s construction of “HMFO”:

     MS. JONES: Could we pull up the ’884 patent Claim 1, please.

     BY MS. JONES:

     Q.   And so you’ll see that Claim 1 requires an ISO 8217
          material that is merchantable quality as a residual
          marine fuel oil and if you look at ISO 8217, the
          table that defines what a residual marine fuel oil
          is is Table 2, right?

     A.   That’s correct.

     Q.   Okay.   So that’s what we’re talking about when
          we’re talking about the patent claims?

     A.   What I’m reading here is a low-sulfur heavy marine
          fuel oil and what your patent defines [as] a low-
          sulfur heavy marine fuel oil is a residue that has
          a minimum asphaltene content.

     Q.   Okay.     But   that’s  not   the  Court’s   claim
          construction of a heavy marine fuel oil, is it?

     A.   I’m not the patent expert and I don’t — I haven’t
          been   well  informed  about  what   the  Court’s
          construction claims are.

     Q.   Yes. . . . so I will read it for you. . . So the
          Court construed heavy marine fuel oil not to
          require any process residues or any specific
          materials. Do you understand that?



     24
      Magçmâ’s MNT, Docket Entry No. 292, p. 11 (quoting Trial
Transcript Day 3, Docket Entry No. 286, p. 3-10:1-9).

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     A.      No, I don’t understand that.

     Q.      So let me tell you what the construction is here.
             It’s a petroleum product fuel compliant with ISO
             8217 standard for bulk properties of residual
             marine fuels except for the concentration levels of
             environmental contaminants.

             And so the Court says that heavy marine fuel oil
             doesn’t mean whatever ingredients that you’re
             referring to, Mr. Vauk. It means what’s compliant
             with ISO 8217, okay?

             So, for purposes of today when I talk about a heavy
             marine fuel oil or a residual marine fuel oil,
             that’s what I’m talking about. Do you understand
             that?

     A.      I understand that’s what you’re saying, but I don’t
             agree with what you’re saying.

     Q.      I understand that you don’t agree with the Court’s
             claim construction. But we’re here to talk about
             the patents and that’s the claim construction that
             applies to [the] patents; is that fair?

     A.      ISO 8217 gives a definition of what a residual fuel
             oil is and it says in the — it says that a residual
             fuel oil has to contain — it says all residual fuel
             oils contain metals and that’s in the ISO 8217
             specification.

     Q.      Okay.     I understand you disagree           with    the
             construction. Let’s move on . . .25

     The     Vauk   testimony   about   which   Magçmâ   complains   is     an

expression     of   Vauk’s   personal   opinion   solicited   by   Magçmâ’s

counsel; it is neither an expression of Defendants’ position nor an

attempt by Defendants to undermine or contradict the court’s

construction of “HMFO.”         Accordingly, the court concludes that



     25
          Trial Transcript Day 3, Docket Entry No. 286, pp. 3-9:18 -
11:14.

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Vauk’s testimony does not warrant a new trial because it did not

contradict the court’s claim construction order.

     Quoting only a few lines of Dr. Sughrue’s testimony, Magçmâ

implies that he contradicted the court’s claim construction order

by telling “the jury that a ‘distillate’ cannot meet ISO 8217

Table 2” by virtue of its being a distillate.26           But that is not

what Dr.      Sughrue   testified.    To    the   contrary,   Dr.   Sughrue’s

testimony acknowledged both the court’s construction of “HMFO,” and

his obligation to adhere to that construction:

     Q.      Now, if something is a distillate, it could also be
             infringing; isn’t that right?

     A.      We’re getting into some area that I’m uncomfortable
             with. But I have to go with the Court’s — I don’t
             feel a distillate will meet Table 2 specifications
             because the CCAI cannot be applied to a distillate
             low-viscosity.   It’s outside the range of that
             correlation, so you’re now misapplying that
             correlation.

     Q.      Are you saying, sir, that you have not applied this
             Court’s construction, then?

     A.      I have used the Court’s construction.

     Q.      So I’m asking you: Under this Court’s construction,
             if you had a distillate and it was ISO 8217
             compliant, would it be infringing?

     A.      I’ll say it this time: Yes.27

Dr. Sughrue’s testimony does not warrant a new trial because it

neither undermined nor contradicted the court’s claim construction.


     26
      Magçmâ’s MNT, Docket Entry No. 292, p. 12 (quoting Trial
Transcript Day 5, Docket Entry No. 288, p. 5-160:9-16).
     27
          Trial Transcript Day 5, Docket Entry No. 288, p. 5-160:9-23.

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B.     Defendants Did Not Argue Limitations Not Found in the Claims

       Asserting that Defendants’ “primary tactic was to manufacture

additional claim ‘requirements’ necessary to prove infringement,

but which were not based on the actual claim language,”28 Magçmâ

argues that Defendants’ “improper additional requirements included:

actual testing; a feed compliant ‘before it hits any of the

equipment’ (outside the battery limits); and a minimum viscosity.”29

Acknowledging that “the Court’s jury charge properly identified the

focus as a comparison between the claim language as construed and

the accused products,”30 Magçmâ argues that “the prejudicial errors

[Defendants] introduced through [these] additional requirements

were not cured.”31        Magçmâ argues that each of these improper

requirements       was   designed   to   hinder    its   ability    to   prove

infringement at the Bayway refinery.32

       Defendants respond that no new trial is warranted on this

basis because Magçmâ failed to object at trial to all but one of

these arguments, and because Magçmâ’s challenges rest on claim

limitations that were not subject to court claim construction.33


       28
            Magçmâ’s MNT, Docket Entry No. 292, p. 6.
       29
            Id.
       30
            Id.
       31
            Id.
       32
      Id. at 13-17.          See also        Magçmâ’s Reply, Docket Entry
No. 294, pp. 5-6.
       33
            Defendants’ Response to Magçmâ’s MNT, Docket Entry No. 293,
                                                         (continued...)

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Absent the court’s construction of a claim term, the jury was free

to rely on the term’s plain and ordinary meaning.         See ePlus, Inc.

v. Lawson Software, Inc., 700 F.3d 509, 520 (Fed. 2012).



     1.      Defendants’ Minimum Viscosity Arguments were Relevant to
             the Claim Limitation “Of Merchantable Quality as a
             Residual Marine Fuel Oil” in Claim 1 of the ’884 Patent

     Citing the testimony of Romulo Monsalve (“Monsalve”), Phillips

66’s manager of commercial fuel trading, Magçmâ asserts that

Defendants “repeatedly told the jury that the Bayway feed and

product could not be sold as a ‘residual marine fuel’ because its

viscosity     is   too   low.”34   Asserting   that   “there   is   no   such

requirement found in the actual claim language or in this Court’s

instructions [because n]othing in the claims or in ISO 8217 Table 2

imposes a minimum viscosity,”35 and that Monsalve’s testimony was

based on requirements set for the Platts trading market, which did

not exist for HMFO with 0.5% sulfur when the original patent was

filed,36 Magçmâ argues that “[t]he claims cannot include a minimum



     33
      (...continued)
pp. 10-12.
     34
      Magçmâ’s MNT, Docket Entry No. 292, p. 16 (citing Trial
Transcript Day 5, Docket Entry No. 288, p. 5-91:7-17). See also
Trial Transcript Day 5, Docket Entry No. 288, pp. 5-81:1-4, and 5-
95:9-11 (identifying Monsalve).
     35
          Id. at 17.
     36
      Id. at 16 (citing Trial Transcript Day 5, Docket Entry
No. 288, pp. 5-91:20-92:4, and 5-99:7-21).

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viscosity ‘requirement’ based on [a] trading market that did not

exist at the time of the invention.”37         Defendants respond that

Claim 1 of the ’884 Patent requires HMFO to be “of merchantable

quality as a residual marine fuel oil,” and that neither party

asked the court to construe that term.       Defendants argue that just

because “Magçmâ had [no] competing evidence about the . . .

viscosity window for merchantability is no sign of error.”38

     Claim 1 of the ’884 Patent contains a limitation stating that

     prior to hydroprocessing the high sulfur heavy marine
     fuel oil is compliant with ISO 8217:2017 and is of
     merchantable quality as a residual marine fuel oil but
     has a sulfur content (ISO 14596 or ISO 8754) greater than
     0.5% wt. and wherein the low sulfur heavy marine fuel oil
     is compliant with ISO 8217:2017 and is of merchantable
     quality as a residual marine fuel oil and has a sulfur
     content (ISO 14596 or ISO 8754) less than 0.5% wt.39

The Joint Pretrial Order states that Defendants contend “[t]he

[Bayway] DSU-1 feed and product are not of ‘merchantable quality as

a residual marine fuel oil’ because of low viscosity.”40           Whether

this limitation was satisfied by feed to the Bayway hydrotreater

was therefore a disputed issue of fact for the jury to decide.

Because neither party asked the court to construe “of merchantable



     37
          Id. at 17.
     38
          Defendants’ Response to Magçmâ’s MNT, Docket Entry No. 293,
p. 12.
     39
      ’884 Patent, Exhibit 1 to Plaintiff’s Complaint, Docket Entry
No. 1-1, p. 18 (emphasis added).
     40
          Joint Proposed Pretrial Order, Docket Entry No. 209, p. 12.

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quality as a residual marine fuel,” the jury was to apply the

term’s plain and ordinary meaning when determining whether this

limitation was satisfied.      ePlus, 700 F.3d at 520.

     Three witnesses testified about this claim limitation.             The

first two were Magçmâ’s witnesses: Moore, one of the patents’ two

named inventors; and Dr. James Speight (“Dr. Speight”), Magçmâ’s

expert.41     Moore testified that the patented fuel oil had to be

merchantable, i.e., salable, and that there was an annex associated

with the specification for marine fuels that mentions deleterious

materials, which he described as “things that can react and fall

out of solution or cause a ship to shut down.”42              Dr. Speight

testified that “[w]hen a product is sold, it should not have . . .

any deleterious materials.      And those — the materials are usually

defined . . . as influencing the performance of the product for the

service which it is intended.”43      Dr. Speight also testified that

when reviewing the Bayway feed he found no deleterious materials

other than sulfur, which would be removed by hydrotreating.44




     41
      Magçmâ’s MNT, Docket Entry No. 292, p. 27 (citing Trial
Transcript Day 2, Docket Entry No. 285, p. 2-11:7-11 (Moore
testimony); Trial Transcript Day 4, Docket Entry No. 287, pp. 4-
50:7-51:23 (Dr. Speight testimony); and Trial Transcript Day 5,
Docket Entry No. 288, p. 5-99:7-21 (Monsalve testimony)).
     42
          Trial Transcript Day 2, Docket Entry No. 285, p. 2-11:5-10.
     43
          Trial Transcript Day 4, Docket Entry No. 287, p. 4-51:1-5.
     44
          Id. at lines 6-23.

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     The only defense witness who testified about this claim

limitation was Monsalve, Phillips 66’s manager of commercial fuel

trading.     Monsalve testified that Bayway feed could not be sold as

a residual marine fuel oil because its viscosity was too low.45             He

did not testify that Bayway product could not be sold for that

reason.     To the contrary, Monsalve testified that he could and did

sell Bayway product as residual marine fuel oil that complied with

ISO 8217:2017.46     He testified that the Platts window, a platform

used by buy and sell marine fuel oil, requires viscosity to be no

less than 30 centistokes, and that viscosity of the Bayway feed was

in the single digits.      He testified that while the Platts window

applies in the New York Harbor and elsewhere in the Northeast, that

even outside that area “most ship owners would have issues running

residual fuel oil with viscosity in the single digits . . . [a]nd

some of them will actually ask you for a minimum [viscosity],”47

because fuel oil of low viscosity would require them “to treat the

engines all the time, . . . [a]nd if they don’t, they could have

engine failure.”48     From Monsalve’s uncontradicted testimony the

jury could reasonably have concluded not only that viscosity is

relevant to the claim limitation that required both the Bayway feed


     45
      Trial Transcript Day 5, Docket Entry No. 288, pp. 5-91:12-19,
5-94:11-13.
     46
          Id. at 5-95:9-96:23.
     47
          Id. at 5-92:18-21.
     48
          Id. at 5-92:25-93:2.

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and product to be “of merchantable quality as a residual marine

fuel,” but also that the Bayway feed could not be sold as a

residual marine fuel oil because its viscosity was too low.

     Because Claim 1 of the ’884 Patent includes a claim limitation

“of merchantable quality as a residual marine fuel,” because

Defendants contended that neither the feed nor product of the

Bayway DSU-1 hydrotreater met this limitation, and because Monsalve

testified without contradiction that Bayway feed could not be sold

as a residual marine fuel oil because its viscosity was too low,

the court concludes that Defendants did not argue a limitation not

found in the claims when they told the jury that the Bayway feed

could not be sold as a residual marine fuel because its viscosity

is too low.



     2.      Defendants’ Arguments Regarding “A Feed Compliant ‘Before
             It Hits Any of the Equipment’ (Outside the Battery
             Limits)” were Relevant to the Claim Limitation of “Prior
             to Hydroprocessing” in Claims 1 and 5 of the ’884 Patent

     Asserting that “neither Claim 1 nor Claim 5 of the ’884 Patent

even use the word ‘feed’ or ‘feedstock,’”49 and that Defendants’

counsel repeatedly told the jury during closing argument that: “The

feedstock     has   to   be   compliant    before   it   hits   any   of   the

equipment,”50 Magçmâ argues that Defendants’ statement to the jury



     49
          Magçmâ’s MNT, Docket Entry No. 292, p. 15.
     50
      Id. (citing Trial Transcript Day 6, Docket Entry No. 289,
pp. 6-100:3-4 and 6-103:3-4).

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that “Magçmâ had to prove that the feed was compliant with ISO 8217

‘before it hits any of the equipment’ in order to establish

infringement was prejudicial error and resulted in a verdict that

is against the great weight of the evidence.”51             Asserting that the

’884 Patent’s claims require compliance with ISO 8217:2017 “prior

to hydroprocessing,” and that no party requested construction of

that term “prior to hydroprocessing,” Defendants respond that they

were free to introduce — and the jury was free to weigh — evidence

and argument relevant to whether that limitation was satisfied.52

     Both Claims 1 and 5 of the ’884 Patent contain a limitation

stating that “prior to hydroprocessing the high sulfur heavy marine

fuel oil is compliant with ISO 8217:2017.”53                Although no party

sought      the   court’s   construction       of     the   term    “prior    to

hydroprocessing,” the parties vigorously disputed where, i.e., at

what location      or   place   in   the   process,    compliance   with     this

limitation should be determined at the Bayway refinery.                 Magçmâ

contended that the correct place to determine compliance with this

limitation was after, i.e., downstream from Drum D-101 where there

was no sampling station.54       In contrast, Defendants contended that



     51
      Id. at 16 (citing Trial Transcript Day 6, Docket Entry
No. 289, p. 6-100:3-4).
     52
      Defendants’ Response to Magçmâ’s MNT, Docket Entry No. 293,
pp. 10-11.
     53
      ’884 Patent, Exhibit 1 to Plaintiff’s Complaint, Docket Entry
No. 1-1, p. 18 (emphasis added).
     54
          See Magçmâ’s MNT, Docket Entry No. 292, p. 27.

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the correct place to determine compliance with this limitation was

at a long-established sampling station located before the material

to be processed hit any of the hydrotreating equipment, i.e.,

outside the battery limits, upstream from Drum D-101.55           At trial

the parties presented conflicting evidence on this issue.

     Magçmâ’s expert on hydroprocessing and analysis of operational

data and physical properties, Dr. Peter Loezos (“Dr. Loezos”),56

testified that the correct place to determine compliance with the

limitation stating that “prior to hydroprocessing the high sulfur

heavy marine fuel oil is compliant with ISO 8217:2017,” was “at the

point where no further material is added or removed,”57          i.e., not

upstream but, instead, downstream of Drum D-101.58 Magçmâ’s expert,

Dr. Speight, similarly testified that the correct place to measure

physical properties of the Bayway feedstock was after the feed

surge drum, i.e., Drum D-101, just before it entered the heater to




     55
       Defendants’ Response to Magçmâ’s MNT, Docket Entry No. 293,
p. 22 (asserting that “the jury rejected Magçmâ’s argument that the
hydroprocessor is delineated by the reactor rather than by the
battery limits;” and citing the testimony of Phillips 66 employee
Frank Tracy that “battery limits” means “everything inside of [a]
geographical space,” Trial Transcript Day 5, Docket Entry No. 288,
pp. 5-53:23-54:6).
     56
      Trial Transcript Day 3, Docket Entry No. 286, p. 3-170:9-12
(identifying Dr. Loezos as an expert).
     57
          Id. at 3-211:25-212:1.
     58
          Id. at 3-189:2-9.

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the reactor.59      However, Dr. Speight’s testimony on this issue was

impeached during cross-examination when he agreed with defense

counsel that his trial testimony conflicted with (1) Figure 2 of

the ‘884 Patent showing that the first material is compliant with

ISO    8217     before   it   hits    any   equipment;60   and   (2)   with   the

description of a hydrotreater in his book, Handbook of Petroleum

Refining published in 2017.61

       In contrast, Defendants’ expert, Dr. Sughrue, testified that

the correct place to determine whether the limitation “prior to

hydroprocessing the high sulfur heavy marine fuel oil is compliant

with    ISO     8217:2017,”   is     satisfied   is   before   the   unprocessed

material goes into any of the equipment, i.e., before unprocessed

material is mixed with recycled material also referred to as

outside the battery limits.62


       59
      Trial Transcript Day 4, Docket Entry No. 287, pp. 4-29:4-
32:2.   See also id. at 4-126:7-10 (“Q. Your opinions for flash
point depend on picking a point for compliance somewhere around the
furnace of the DSU-1 hydrotreator, correct? A. Just upstream of
the furnace, yes.”).; id. at 4-126:20-24 (“Q. With respect to DSU-1
and the flash, your opinion is compliance is determined somewhere
in the middle, correct? Around the furnace. A. . . .[Y]es, around
the upstream of the furnace, yes.”).
       60
      Id. at 4-120:1-24. See also id. at 4-121:5-11 (“Q. But the
figure’s telling us it has to be compliant before it hits any of
the equipment, correct? A. Yes. Q. Is there any text in the
patent that tells you you should look for compliance, not here . .
. but somewhere in the middle? A. No.”).
       61
            Id. at 4-122:25-126:6.
       62
            Trial Transcript Day 5, Docket Entry No. 288, pp. 5-114:18-
115:1.

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     Because the parties vigorously disputed where, i.e., at what

location or place in the process compliance with the limitation

“prior to hydroprocessing the high sulfur heavy marine fuel oil is

compliant with ISO 8217:2017,” had to be determined, and because

the parties presented conflicting evidence on this issue, including

evidence from Magçmâ’s expert, Dr. Speight, who testified that

Figure 2 of the ’884 Patent shows the unprocessed material is

compliant with IS) 8217:2017 before it hit any of the equipment,

the court is not persuaded that Defendants argued a limitation not

found in the claims by arguing that the claims require a feed

compliant before it hits any of the equipment.



     3.         Defendants’ Arguments Regarding “Actual Testing Data”
                were Relevant to the Claim Limitation of “Compliant with
                8217:2017” in Claims 1 and 5 of the ’884 Patent, but also
                Improper and Prejudicial to Magçmâ

     Magçmâ argues that Defendants improperly argued to the jury

that testing of actual samples was needed to prove infringement.63

Asserting that Defendants “repeatedly argued that testing of an

actual sample was ‘required’ [to prove compliance with ISO 8217],”64

and that “[t]his argument was re-iterated throughout trial and . .

. in closing arguments,”65 Magçmâ argues that Defendants’ fabricated



     63
          Magçmâ’s MNT, Docket Entry No. 292, p. 6.
     64
          Id. at 14.
     65
          Id.

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this requirement for purposes of concocting a non-infringement

argument.66

     Asserting that Claims 1 and 5 of the ’884 Patent contain the

limitation “compliant with ISO 8217:2017,” and that no party

requested construction of that limitation, Defendants respond that

they were free to introduce — and the jury was free to weigh —

evidence and argument relevant to deciding if that limitation was

satisfied.67    Defendants argue that “Magçmâ offered its version of

what it believed satisfied compliance with ISO 8217 in the form of

Riazi estimates, but there is no error for the jury to consider

alternate     explanations   for   compliance   based   on   the   language

contained in the ISO 8217 standard itself.”68

     Both Claims 1 and 5 of the ’884 Patent contain a limitation

stating that “prior to hydroprocessing the high sulfur heavy marine

fuel oil is compliant with ISO 8217:2017.”69         No party sought the

court’s construction of “compliant with ISO 8217:2017,” and the

claims are silent as to how compliance with ISO 8217:2017 is to be


     66
      Id. at 15. See also Magçmâ’s Reply, Docket Entry No. 294,
p. 6 (“Magçmâ repeatedly objected to the introduction of the
‘actual testing’ requirement from the very first day of
trial)(citing Trial Transcript Day 1, Docket Entry No. 284, pp. 1-
5:3-7:21)).
     67
      Defendants’ Response to Magçmâ’s MNT, Docket Entry No. 293,
pp. 10-12.
     68
          Id. at 12.
     69
      ’884 Patent, Exhibit 1 to Plaintiff’s Complaint, Docket Entry
No. 1-1, p. 18 (emphasis added).

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determined.       At trial, Magçmâ presented evidence showing that

Defendants did not have a sampling station at the place where it

argued compliance with ISO 8217 should be determined at the Bayway

refinery, i.e., after or downstream from Drum D-101 and, therefore,

that it relied on estimates of flash point calculated by applying

the Riazi Formula to otherwise available data.                    In contrast,

Defendants presented evidence showing that Magçmâ’s reliance on the

Riazi Formula to show compliance with ISO 8217 was improper because

the ISO standards require compliance to be shown by tests performed

on actual samples. Because the parties disputed how the limitation

“compliant with ISO 8217:2017” had to be determined, and because

Defendants presented evidence that the ISO standards required

testing   of     actual   samples,   the    court    is   not   persuaded    that

Defendants argued a limitation not found in the claims when they

argued    that    testing   of   actual    samples    was   needed   to     prove

infringement.

     Nevertheless, because the court denied Magçmâ’s motion to

compel production of actual samples from the place it argued

compliance should be determined based, in part, on Defendants’

assertions that Magçmâ did not need actual samples to prove its

allegations of infringement,70 Defendant’s argument that testing of


     70
      See Transcript of November 4, 2021, Motion Hearing, Docket
Entry No. 68, pp. 10:16-11:24. See also id. at 25:15-19 (Defense
counsel stated that “[t]here are a lot of different ways to try to
get to the estimates of combining these streams”).       See also
                                                    (continued...)

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actual samples was needed to prove infringement was improper and

prejudicial to Magçmâ.      The court recognized this during the fifth

day of trial when hearing argument for and against Magçmâ’s motion

for   a    curative   instruction   that   estimate   calculations   are    a

sufficient substitute for test data when actual samples could not

be obtained from the location at issue:71

           MS. JONES: They’re arguing that even if we show
      Riazi is 100 per cent reliable, that it will never meet
      the ISO 8217 standard because it’s, per se, insufficient.

             THE COURT: Are you arguing that?

           MR. WALKER: Well, we’re arguing that the estimation
      is wrong, but we’re also arguing that the standard
      requires you to use a test rather than any estimations
      and that goes to the weight as to whether or not that
      they can use estimations.

           THE COURT: Yeah, but the problem is you didn’t
      produce tests or provide a test method that could be used
      by Magçmâ before the discovery cutoff. So how in the
      world could they possibly satisfy what you say is their
      burden?

           MR. WALKER: At that point in time, they were focused
      on the prediction of the Riazi method, which we’ve
      covered in the last few days, was predicting it before
      the Drum D-101. It’s only as this theory evolved that it
      said that it was after Drum D-101 —

           THE COURT: Yeah, but as my opinion goes into
      excruciating detail, they raised that issue well before
      the discovery cutoff.


      70
      (...continued)
Memorandum Opinion and Order, Docket Entry No. 204, pp. 69-72.
      71
      See Plaintiff Magçmâ Technology LLC’s Motion for Curative
Instruction Regarding Magçmâ’s Use of Estimate Calculations, Docket
Entry No. 245, and Proposed Order attached thereto, Docket Entry
No. 245-1.

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          MR. WALKER: I understand.      That was not our
     interpretation of what they were saying at the time.

          THE COURT: All right.    I’m going to think about
     this, but I’m not inclined — what relief do you want
     before I say what I’m not inclined to do?

          MS. JONES: I would like some instruction that
     estimations are permitted under the standard, especially
     when samples are not available, whatever, you know,
     wording is appropriate there. But I think that that way
     they can challenge the reliability of the estimations,
     but not whether or not we could —

          THE COURT: Why can’t you argue that the preferred
     method is testing, but there was no testing at that
     location so we used Riazi?

          And then why can’t you say, “That may be true, but
     Riazi is not good. It’s not credible?”

             MR. WALKER: That’s fine with us.

             THE COURT.   Okay.   That solves the problem.72

     Following the above quoted exchange with counsel, the court

denied Magçmâ’s motion for curative instruction, but warned the

parties, “I’ll be attuned [to any] attempt from any creative lawyer

to get around my ruling during final argument, and I won’t be

reluctant to take appropriate action.”73             But as Magçmâ notes,

“[d]espite the warning, Defendants’ counsel and final witness,

[John]     Allen   [(“Allen”)],   made   no   less   than   5   references   to

‘actual’ or ‘required’ or ‘right’ test methods or lab data on Day

6 of the trial.”74        Although Magçmâ did not object to these

     72
      Trial Transcript Day 5, Docket Entry No. 288, pp. 5-241:11-
242:23.
     73
          Id. at 5-243:6-9.
     74
          Magçmâ’s MNT, Docket Entry No. 292, p. 15 n. 5 (citing Trial
                                                        (continued...)

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references made on the sixth day of trial, Magçmâ objected to

Defendants’ argument that “compliant with ISO 8217:2017” could only

be shown by testing of actual samples throughout the course of this

litigation.75   Accordingly, the court concludes that Defendants’

arguments regarding “actual testing data” were relevant to the

claim limitation of “compliant with 8217:2017” in Claims 1 and 5 of

the ’884 Patent, but also improper and prejudicial to Magçmâ

because in response to Magçmâ’s motion to compel actual samples,



     74
      (...continued)
Transcript Day 6, Docket Entry No. 289, pp. 6-26:18 (Allen
testimony), and 6-29:3-31:12, 6-97:3-5, 6-98:23, 6-106:10-13, and
6-108:12-15 (closing argument)). The cited line from the Allen
testimony is likely a typographical error because there is no
mention of testing at p. 6-26:18. Allen’s reference to “actual lab
data” is found at p. 6-29:18 during questioning about flash point
in Drum D-101, which ran from p. 6-29:3 to 6-31:12.       The lines
cited from Defendants’ closing argument all referenced testing of
actual samples from the Bayway refinery that Defendants argued were
either needed to prove infringement, e.g., p. 6-97:3-5 (“We know
what those required specifications and required test methods are
because they are in Defendants’ Exhibit 10.” (See Defendants’ Trial
Exhibit 10, Docket Entry No. 267-3 (International Standard ISO 8217
Sixth Edition 2017-03: Petroleum Products — Fuels (class F) —
Specifications of marine fuels)); p. 6-98:23 (“The actual test data
of the feed at Bayway.”); 6-106:10-13 (“It’s not the right test.
And look again at 8217. It’s not in the books. It’s not in 8217.
They haven’t proved the case.”); and 6-108:12-15 (“But folks, you
don’t get to Question 3 or Question 4 when you answer ‘no’ to
Questions 1 and 2. And you answer ‘no’ because that’s consistent
with there’s no actual test data that shows compliance, none. And
these estimates are not reliable; they’re not at the right place;
and they certainly haven’t proven anything.”).
     75
      Id. at 15. See also Magçmâ’s Reply, Docket Entry No. 294,
p. 6 (“Magçmâ repeatedly objected to the introduction of the
‘actual testing’ requirement from the very first day of
trial)(citing Trial Transcript Day 1, Docket Entry No. 284, pp. 1-
5:3-7:21)).

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Defendants argued that Magçmâ did not need actual samples and

could, instead, prove infringement with estimates calculated from

otherwise available data.76

     Nevertheless, the court is not persuaded that the prejudice

caused by Defendants’ argument regarding testing of actual samples

warrants a new trial because Magçmâ has not shown that that

argument affected the outcome of the trial, and after considering

the record as a whole, the court concludes that that argument did

not affect the outcome of the trial.            The court reaches this

conclusion because Defendants’ argument regarding the need for

testing of actual samples to prove infringement could only have

affected the outcome of the trial if the jury determined that the

Bayway feed satisfied the limitation of merchantability, and that

that the correct place to determine compliance with the limitation

“prior to hydroprocessing the high sulfur heavy marine fuel oil is

compliant with ISO 8217:2017,” was, as Magçmâ argued, downstream of

Drum D-101, and not as Defendants argued, before unprocessed

material hit any of the equipment, i.e., outside the battery limits

or upstream of Drum D-101.         However, because as discussed in

§ III.B.1, above, Defendants presented undisputed evidence that the

Bayway feed was not merchantable because its viscosity was too low,


     76
      See Transcript of November 4, 2021, Motion Hearing, Docket
Entry No. 68, pp. 10:16-11:24. See also id. at 25:15-19 (Defense
counsel stated that “[t]here are a lot of different ways to try to
get to the estimates of combining these streams”).       See also
Memorandum Opinion and Order, Docket Entry No. 204, pp. 69-72.

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and as discussed in § III.B.2, above, Dr. Speight’s trial testimony

regarding the correct place to determine the Bayway feedstock’s

compliance with ISO 8217 was impeached during cross examination,

the court is not persuaded that the jury’s unanimous verdict of no

infringement is either against the great weight of the evidence or

manifestly unjust.



C.     Defendants Did Not Violate the Court’s Exclusionary Order

       Citing the following testimony of its CEO, Klussmannn, Magçmâ

argues that Defendants “brazenly referred to excluded evidence

before the jury.”77

       [A.     . . . And I believe that when you talk about
               specific testing listed in the standard, if it’s
               not possible, or if samples of the materials that
               have gone through this pretreatment are provided,
               then it is appropriate to use calculations to
               determine those values.

       Q.      That’s not what your patent says, does it? It
               doesn’t say anything about if samples are not
               available.

       A.      It’s not in the patent, but the assumption is that
               the correct samples would be available for
               testing.]

       Q.      And it’s not in ISO 8217, is it?

       A.      It’s not, but again, it’s assumed that the fuel
               tested would be physically available, the correct
               materials to be tested.

       Q.      And [Defendants] provided you and offered to
               provide you with samples, didn’t [they], in this
               lawsuit?

       77
            Magçmâ’s MNT, Docket Entry No. 292, p. 17.

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     A.      They didn’t provide the correct samples.

     Q.      They offered to, didn’t they?

     A.      They didn’t provide the correct samples.

     Q.      They offered to didn’t they?

     A.      After close of discovery and changes to operation
             is my understanding of —

     [MR. LEE: Your Honor, at this point, I object. Mr. Brown
     is talking about stuff that came along –

     THE COURT: All right.      Move along, Mr. Brown.]78

Magçmâ argues that this questioning

     was highly prejudicial error and created the false
     appearance to the jury that [Defendants] had all along
     offered Magçmâ the requested samples.      As this Court
     knows, however, Magçmâ moved to compel those samples, but
     was denied.   Only after summary judgment briefing was
     complete and [Defendants] perceived a risk that the
     burden of proving infringement may shift to them as a
     result of Magçmâ’s 35 U.S.C. § 295 motion, did [they]
     belatedly proffer the requested samples, and for the
     Bayway refinery only.

          Magçmâ   requested   a   curative   instruction   in
     connection with [Defendants’] reference to the excluded
     evidence and the related “actual testing” argument, which
     this Court denied. Ex. E, Day 5 Tr. at 5-243:1-9. In
     denying the curative instruction, the Court may have been
     under the mistaken impression that Magçmâ’s counsel had
     elicited testimony related to the production of the
     excluded Bayway samples.    Id. at 5-236:19-237:8.    The
     testimony that Magçmâ believes the Court was referring to
     at the time was related to the Wood River refinery.
     Ex. C, Day 3 Tr. at 3-34:12-35:2. There is no dispute
     that [Defendants] never (even belatedly) offered samples
     from the requested sample point for the Wood River
     Refinery.79



     78
      Id. (quoting Trial Transcript Day 3, Docket Entry No. 286,
p. 3-140:11-22).
     79
          Id. at 18.

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      Although Magçmâ fails to identify either the exclusionary

order      referenced   or    the   evidence    excluded,    both      the   quoted

testimony and the reference to Magçmâ’s request for a curative

instruction make clear that the reference is to the court’s ruling

at Docket Call that “newly developed D-101 samples will not be

admissible for any reason including liability or willfulness.”80

The “newly developed D-101 samples” are samples that Defendants

took from sample stations established at the Bayway refinery in

September of 2022 after discovery had closed, with which they

sought to supplement their response to Magçmâ’s Motion for Partial

Summary Judgment.81      But for the reasons explained in the January

19,     2023,    Memorandum    Opinion   and     Order,     the   court      denied

Defendants’ motion to supplement.82

      The       questioning    that    Magçmâ    challenges       as    “brazenly

referr[ing] to excluded evidence before the jury,”83 is questioning

related to the Wood River refinery and not the Bayway refinery


      80
      Transcript of Docket Call Proceedings, Docket Entry No. 216,
p. 8:5-7.
      81
      See Defendants’ Request for Leave to Supplement Its Response
to Magçmâ’s Motion for Partial Summary Judgment of Infringement,
Docket Entry No. 198; Magçmâ’s Opposition to Defendants’ Motion for
Leave to Supplement Its Response (ECF No. 198), Docket Entry
No. 199; and Defendants’ Reply in Support of Its Request for Leave
to Supplement Its Response to Magçmâ’s Motion for Partial Summary
Judgment of Infringement, Docket Entry No. 200.
      82
      See Memorandum Opinion and Order, Docket Entry No. 204,
pp. 18-32.
      83
           Magçmâ’s MNT, Docket Entry No. 292, p. 17.

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where the excluded samples originated.              As Defendants observe, the

relation to the Wood River refinery

       is made plain by the immediately preceding context
       relating to samples for CCAI testing. Discussions about
       CCAI focused exclusively on Wood River and did not relate
       to the Court’s exclusion of Bayway flash point evidence
       at all.84

Accordingly, the court concludes that the questioning about which

Magçmâ complains did not violate the court’s exclusionary order.



D.     Defendants Did Not Introduce Legal Error by Comparing its
       Refinery Processes to the Rigby Process

       Magçmâ     argues   that   Defendants    introduced      legal    error    by

“improperly       compar[ing]     its   processes    to   a   single    commercial

embodiment of the patented invention referred to as the Rigby

Process.”85        Citing inter alia Myco Industries, Inc. v. BlephEx,

LLC, 955 F.3d 1, 15 (Fed. Cir. 2020), for stating that “[t]he law

is clear . . . infringement is determined on the basis of the

claims, not on the basis of a comparison with the patentee’s

commercial embodiment of the claimed invention,”86 Magçmâ argues

that    “[c]omparison      of   [Defendants’]   accused       processes    to    the

single, narrower commercial embodiment of the Rigby Process misled

the jury into believing that the claims were narrower in scope than

       84
      Defendants’ Response to Magçmâ’s MNT, Docket Entry No. 293,
p. 14. See also id. n. 12 (citing Trial Transcript Day 3, Docket
Entry No. 286, pp. 3-139:20-140:10 and stating: “Counsel asking
whether a feed with a CCAI above 870 infringes; witness evading the
answer by stating that CCAI calculations are appropriate when
correct samples are not available for testing.”).
       85
            Magçmâ’s MNT, Docket Entry No. 292, p. 7.
       86
            Id. at 20.

                                        -32-
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they actually are.”87          As evidence that Defendants improperly

compared their refinery processes to the Rigby Process, Magçmâ

cites the following excerpt from Defendants’ opening statement:

       . . . This Rigby Process that Mr. Moore and Mr. Klussmann
       were pitching to Phillips 66 and a whole bunch of other
       people, that nobody ever wanted, was relying on what’s
       called a residual hydrotreater or a resid hydrotreater.
       Well, Phillips knew about that. They had one at one time
       out in West Texas, in Borger. The resid hydrotreater
       operates at a much higher pressure and puts a lot more
       stress on the catalysts. What Wood River and Bayway do,
       Wood River operates on a slurry hydrotreater, and Bayway
       is called a gas oil hydrotreater.      They operate very
       differently.88

Magçmâ argues that Defendants supported their argument that the

Bayway refinery did not practice the Rigby process with testimony

from    Dennis     Vauk,   Phillips   66’s   director   of   hydroprocessing

technology,89 on the second day of trial; Greg Witte (“Witte”),

Phillips 66’s process design engineer a the Wood River refinery,90

on the fourth day of trial; and Mike Matthews (“Matthews”), the

United States Gulf Coast fuel trader for Phillips 66,91 on the fifth

day of trial.92      Magçmâ also argues that Defendants reiterated this


       87
            Id.
       88
      Id. at 19 (quoting Trial Transcript Day 1, Docket Entry
No. 284, pp. 1-92:23-93:9).
       89
            Trial Transcript Day 2, Docket Entry No. 285, p. 2-166:23-25.
       90
            Trial Transcript Day 4, Docket Entry No. 287, p. 4-237:18-22.
       91
            Trial Transcript Day 5, Docket Entry No. 288, p. 5-22:7-8.
       92
            Magçmâ’s MNT, Docket Entry No. 292, p. 19 n. 8 (citing Trial
                                                          (continued...)

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improper argument during their closing statement.93                   Asserting that

“the Rigby Process is just one embodiment of the broader asserted

claims,” Magçmâ argues that Defendants’

       misleading comparison created the inaccurate impression
       that    the   claims   would    not   cover    “different
       hydrotreaters,” “different feeds,” and “different start-
       up and operating plans.” . . . This cannot be reconciled
       with the claim language as construed.     Moreover, this
       improper comparison conflated the jury’s task to compare
       [Defendants’] accused products to the asserted claims
       with additional, confusing, and irrelevant comparisons to
       the Rigby Process.    Expecting the jury to keep these
       improper comparisons distinct from its infringement
       determination was unreasonable.         This placed an
       impossible task on the jury, and ultimately, constitutes
       a prejudicial error that warrants a new trial.94

       Asserting      that    “Magçmâ    found      none   of   this    sufficiently

problematic in the real time to object back then,” Defendants

respond that         Magçmâ    has   waived   the    alleged    error    related    to

Defendants’ reference to the Rigby Process at trial.95                       Asserting

that    Magçmâ      takes     its    transcript     excerpts    out     of   context,

Defendants also argue that “[t]his challenge fares no better on the

merits.”96        The court agrees.


       92
      (...continued)
Transcript Day 2, Docket Entry No. 285, pp. 2-237:25-239:19; Trial
Transcript Day 4, Docket Entry No. 287, p. 4-255:21-25; and Trial
Transcript Day 5, Docket Entry No. 288, p. 5-29:14-19).
       93
      Id. (citing Trial Transcript Day 6, Docket Entry No. 289,
p. 6-95:10-14).
       94
      Id. at 20-21. See also Magçmâ’s Reply, Docket Entry No. 294,
pp. 9-10.
       95
            Defendants’ Response to Magçmâ’s MNT, Docket Entry No. 293,
p. 15.
       96
            Id.

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     The closing argument made by defense counsel about which

Magçmâ      complains   was    made   without   objection   from   Magçmâ.

Objections to improper closing arguments not made contemporaneously

are waived, and Magçmâ is, therefore, “barred ‘from urging the

improper arguments as grounds for a new trial after the jury . . .

returned its verdict.’”       Nissho-Iwai Co., Ltd. v. Occidental Crude

Sales, Inc., 848 F.2d 613, 619 (5th Cir. 1988) (citations omitted).

Moreover, as Defendants point out,

     [i]n each of Magçmâ’s citations, when [Defendants’]
     counsel referred to the Rigby Process or to the ‘type of
     hydrotreater they were proposing to use,’ it was
     expressly to explain what Mr. Moore and Mr. Klussmann
     pitched to Phillips 66 at the 2017 meetings. . . [I]t was
     Magçmâ who hammered on the theme that the information
     Mr. Moore and Mr. Klussmann shared in those meetings was
     so valuable to Phillips 66 that it took the Rigby Process
     for itself and cut Magçmâ out. Nothing about the Court’s
     claim construction or the case law hamstrung [Defendants]
     from countering that evidence by explaining why
     Mr. Moore’s and Mr. Klussmann’s business pitch of the
     Rigby Process at those meetings was incompatible with
     Phillips 66’s refinery technology and therefore worthless
     to it.97

     In its opening statement Magçmâ told the jury that Defendants

“infringed their technology — in other words, they took what didn’t

belong to them by using our technology without paying for it — and

they disregarded the inventors’ hard work, believing they could do

that because they wouldn’t be held accountable.          That’s the wrong

way of doing things.”98       Magçmâ told the jury that it has “a sister



     97
          Id. at 15-16 & nn. 17-18.
     98
          Trial Transcript Day 1, Docket Entry No. 284, p. 67:2-6.

                                      -35-
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company     called     Rigby   whose      job    is    to    commercialize      Magçmâ’s

technology[, and that t]he meetings between Phillips and . . .

Rigby     tell   the   story    of    willfulness.”99           Magçmâ   cited    these

meetings, and presented testimony about the information shared

during them, as evidence that Defendants incurred liability by

using information gained at those meetings without paying for it.

Defendants’ opening and closing statements, and the trial testimony

referencing the Rigby Process about which Magçmâ complains were

not, as Magçmâ argues, an improper comparison of Defendants’

processes     to   a   single   commercial            embodiment   of    the    patented

invention,100 but instead, explanations for why Phillips chose not

to pursue Rigby’s business proposals, i.e., evidence offered to

counter Magçmâ’s contention that any infringement of its patents

was willful.

     Patent      infringement        is   decided       by   comparing    the   accused

technology to the patent claims.                 As evidenced by the discussion

above in § III.C.1-3, whether the accused products satisfied the

patents’ claims was vigorously disputed at trial. Moreover, Magçmâ

acknowledges that its “closing and the Court’s jury charge properly

identified the focus as a comparison between the claim language as

construed and the accused products.”101                      Because Magçmâ did not



     99
          Id. at 77:12-15.
     100
           Magçmâ’s MNT, Docket Entry No. 292, pp. 7, 19-21.
     101
           See Magçmâ’s MNT, Docket Entry No. 292, p. 6.

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raise the meetings between representatives of Phillips 66 and Rigby

as evidence of infringement, but instead, as evidence that any

infringement of its patents was willful, the court is not persuaded

that Defendants compared their “accused processes to the single,

narrower commercial embodiment of the Rigby Process,” that any such

comparison “misled the jury into believing that the claims were

narrower in scope than they actually are,”102 or that “[e]xpecting

the jury to keep these . . . comparisons distinct from its

infringement          determination   was   unreasonable[,      [or    p]laced   an

impossible task on the jury.”103            Accordingly, the court concludes

that Defendants did not introduce legal error by comparing its

refinery processes to the Rigby Process.



E.     Defendants Did Not Use Improper Trial Tactics

       Asserting that Defendants’ “improper trial tactics were not

limited        to    conduct   specifically   identified   in    the    preceding

sections,”104 Magçmâ argues that Defendants’ “improper trial tactics

permeated all aspects of the trial, rendering the entire trial

unfair.”105         Citing Alaniz v. ZamoraQuezada, 591 F.3d 761, 778 (5th

Cir. 2009), for holding that when asked to determine if manifest


       102
             Id. at 20.
       103
             Id. at 21.
       104
             Id.
       105
             Id.

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injustice warranting a new trial has occurred, courts in this

circuit consider “the comments of counsel, the counsel’s trial

tactics as a whole, the evidence presented, and the ultimate

verdict,”106 Magçmâ argues that Defendants’ improper trial tactics

included (1) misleading the jury with legally erroneous argument

that Defendants were free to use the patented technology because

there      was     no    non-disclosure   agreement     (“NDA”)   in    place;

(2) implying that Phillips invented the patented technology first;

(3) presenting unlabeled and misleading samples to the jury; and

(4) making factually incorrect and prejudicial statements during

closing argument.107



     1.          Defendants’ References to a NDA Were Not Improper

     Citing        the   following   statement   from   Defendants’    closing

argument, Magçmâ argues that Defendants improperly mislead the jury

by erroneously arguing that they were free to use the patented

technology because there was no non-disclosure agreement in place:

     There’s something interesting that Magçmâ never told you,
     and anybody involved in the patent process knows this.
     And that is that you can take anything, any information
     you want from a meeting, as long as there’s no
     nondisclosure agreement — and that’s undisputed there was
     none.108


     106
           Id.
     107
           Id. at 21-26.
     108
           Id. at 21-22 (citing Trial Transcript Day 6, Docket Entry
                                                      (continued...)

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Asserting that “there is no obligation to keep a patented (or

patent-pending) technology secret using [NDAs] in order to preserve

a claim of patent infringement if the disclosed technology is later

used    without     authorization,”109     Magçmâ   argues   that   Defendants’

mention of NDAs in closing “misled the jury as to the law.                  And,

given that NDAs were not at issue, the jury charge did not include

any instruction related to NDAs to cure [Defendants’] blatant

misstatement.”110

       The closing argument made by defense counsel about which

Magçmâ complains was made without objection at trial.                Objections

to    improper     closing     arguments   not   made   contemporaneously    are

waived, and Magçmâ is, therefore, “barred from urging the improper

arguments as grounds for a new trial after the jury . . . returned

its verdict.”        Nissho-Iwai Co., 848 F.2d at 619.         Even if Magçmâ

had objected the challenged statement would not warrant any relief.

The absence of an NDA between Defendants and Rigby was introduced

by Magçmâ during direct examination of Moore regarding an April

2017 meeting.111          Missing from Magçmâ’s briefing is a cite to any

testimony or argument that a party is free to infringe a patent

unless an NDA is in place.          As Defendants point out,


       108
       (...continued)
No. 289, p. 6-95:15-21 (emphasis in original)).
       109
             Id. at 22.
       110
             Id.
       111
             Trial Transcript Day 2, Docket Entry No. 285, pp. 2-44:5-
48:3.

                                       -39-
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      the topic of the NDA only came up because it was Magçmâ
      who repeatedly muddled the issues by arguing that
      [Defendants] bore liability or guilt by virtue of
      allegedly getting and using information from the meetings
      with Magçmâ. . .

           Such evidence has no relevance, of course, to patent
      infringement, which is decided solely by comparing the
      accused technology to the patent claims, irrespective of
      whether the parties had ever met at all. Patents, of
      course, are public. But Magçmâ nevertheless raised those
      meetings and what was shared in them specifically to
      suggest, wrongly, that [Defendants] bore liability
      because it allegedly used the information shared in those
      meetings. In response [Defendants] rightly reminded the
      jury that this is not a trade secrets case, and that
      [Defendants were] free to use the information shared in
      those meetings — which not itself patented, and in fact
      no patents even existed at the time of any meetings —
      because the information was not protected by an NDA.112

Accordingly, the court concludes that Defendants’s references to a

NDA during closing argument were not improper.



      2.       Defendants Did Not Improperly Argue that Magçmâ’s
               Technology was Not Patentable or Improperly Imply that
               Defendants Invented the Patented Technology First

      Citing the following testimony from Dennis Vauk, Phillips 66’s

director       of   hydroprocessing     technology,113   Magçmâ    argues   that

Defendants improperly argued that its technology was not patentable

and   improperly       implied   that    Phillips   invented      the   patented

technology first:



      112
       Defendants’ Response to Magçmâ’s MNT, Docket Entry No. 293,
p. 17 & nn. 22 and 23 (citing Trial Transcript Day 1, Docket Entry
No. 284, pp. 1-78:11-83:4 (opening argument); and Trial Transcript
Day 6, Docket Entry No. 289, pp. 6-81:11-84:8 (closing argument)).
      113
            Trial Transcript Day 2, Docket Entry No. 285, p. 2-166:23-
25.

                                        -40-
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     Q.    As part of the projects at Bayway or Wood River,
           did you or anyone else at Phillips 66 pursue any
           patents?

     A.    No, we didn’t pursue any patents because these were
           technologies that had been practiced for many years
           at the refinery, and there was nothing patentable
           about the solution that we came up with.114

Citing the following statement of defense counsel during closing

argument, Magçmâ argues that Defendants sought to undermine the

patents’ novelty by arguing that Phillips was the first to come up

with the solutions that were implemented at the Bayway (and Wood

River) refineries: “Mr. Witte came up with this idea . . . That

idea was not only in Mr. Witte’s head, but he wrote it down well

before there was any discussion at all with these Rigby personnel

. . . Mr. Vauk . . . came up with the idea . . .”115

     Defendants respond that they never contended that Magçmâ’s

technology was unpatentable or that Phillips 66 invented Magçmâ’s

technology, and that Vauk expressly testified to the contrary,

i.e., Vauk testified that he did not dispute that Magçmâ’s patents

were valid but that he did dispute that Phillips 66 was using

Magçmâ’s patented technology.116     Thus, the evidence at trial does

not support Magçmâ’s contention that Defendants improperly argued

the patents were not patentable.

     114
       Magçmâ’s MNT, Docket Entry No. 292, pp. 22-23 (citing Trial
Transcript Day 2, Docket Entry No. 285, p. 2-245:15-20).
     115
       Id. at 23 (citing Trial Transcript Day 6, Docket Entry
No. 289, pp. 6-87:22-88:25).
     116
       Defendants’ Response to Magçmâ’s MNT, Docket Entry No. 293,
p. 18 (citing Trial Transcript Day 3, Docket Entry No. 286, pp. 3-
44:21-45:7).

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     As    evidence   that   Defendants     were   not   using    Magçmâ’s

technology, Defendants presented testimony of Vauk and Witte, that

they each came up with their own solutions to the IMO 2020 problem,

that their solutions not only differed from Magçmâ’s solution but

also predated Defendants’ meetings with Rigby.117              At closing

argument defense counsel summarized Vauk’s and Witte’s testimony by

telling the jury that

          When we started this case, Magçmâ told you how they
     intended to try their case. What they intended to say
     was that [Defendants] did things the wrong way; and they
     did it the right way; and that [Defendants] had taken
     what was theirs, they had stolen it. The suspicions, not
     the documented facts.

          Because we know what those documented facts are.
     Greg Witte and Dennis Vauk each have worked with
     hydrotreaters for over 40 years. Mr. Witte testified
     right up there, and you’ve see — you will see his
     documents, Defendants’ 201 and 200. . .

          In November of 2016, Mr. Witte came up with the idea
     of using slurry at the Wood River hydrotreater to meet
     IMO 2020, and he recorded that in those two documents.

          Mr. Vauk testified about coming up with the idea of
     using light cycle gas oil as part of the stream at the
     Bayway Refinery to meet the IMO 2020 requirements, and he
     recorded that in Defendants’ Exhibit 83, his March 2017
     memorandum. All of that occurred before Rigby and Magçmâ
     ever entered the door at Phillips 66.




     117
       See Trial Transcript Day 2, Docket Entry No. 285, pp. 2-
176:7-177:9 and 2-223:23-224:15 (Vauk testimony) and March 8, 2017,
email, Defendants’ Trial Exhibit 83, Docket Entry No. 267-15
(supporting Vauk testimony); Trial Transcript Day 4, Docket Entry
No. 287, pp. 4-242:10-247:23, and November 2016 emails and May 2015
white paper, Defendants’ Trial Exhibits 200 and 201, Docket Entry
Nos. 268-7 and 268-8, respectively (supporting Witte testimony).

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          Essentially what Magçmâ is telling you folks in this
     case is that every witness that you have heard from
     Phillips 66 who told you about how this happened, how
     nothing at these meetings . . . influenced them in any
     way, that they’re all not telling the truth, they’re
     lying to you.118

     Because Defendants presented evidence at trial that Vauk and

Witte each came up with their own solution to the IMO 2020 problem

before Defendants had any meetings with Rigby, and that their

solutions differed from Magçmâ’s solutions, the evidence at trial

does not support Magçmâ’s contention that Defendants improperly

implied that Defendants invented the patented technology first. To

the contrary, this evidence was relevant to Defendants’ defense to

Magçmâ’s allegations of willfulness, i.e., that Defendants solved

the IMO 2020 problem using their own technology.



     3.          Defendants’ Use of Sample Demonstratives Was Neither
                 Improper nor Prejudicial

     Asserting that the samples Defendants “brought to trial were

improper and misleading, collected at an unknown time, from [an]

unknown location, and from an unknown mode of operation that was

never confirmed,”119 Magçmâ argues that it was highly prejudicial

for Defendants to use the samples at trial.120



     118
           Trial Transcript Day 6, Docket Entry No. 289, pp. 6-94:6-
95:5.
     119
           Magçmâ’s MNT, Docket Entry No. 292, pp. 23-24.
     120
           Id.

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     Defendants respond that there was nothing improper about their

use of sample demonstratives, which Magçmâ subjected to cross-

examination.     Defendants explain that

     Vauk testified about two glass vials to illustrate the
     residue and gas oil at the Bayway facility. He used them
     to explain the process by which residue and gas oil are
     blended together to create marine fuels.     The samples
     were demonstratives, not admitted into evidence, and
     Magçmâ raised no objection to their use or to Mr. Vauk’s
     testimony about their provenance.

          Indeed, Magçmâ did precisely what the adversarial
     system envisions: used cross-examination to impugn the
     reliability of Mr. Vauk’s testimony about the samples, by
     challenging his knowledge about the samples’ dates and
     collection processes. Indeed, Magçmâ showed the jury its
     own competing demonstrative, of a different glass vial
     that Magçmâ compared to [Defendants’] demonstratives. .
     . [T]hese exchanges, remarkable only insofar as they
     illustrate how cross-examination is supposed to work,
     give rise to no error at all, let alone manifest
     injustice.121

     Magçmâ argues that Defendants use of the demonstratives was

highly prejudicial, but Magçmâ failed to object to Vauk’s testimony

about them at trial.      Moreover, Magçmâ fails to explain in its

briefing how Vauk’s testimony about the demonstratives prejudice

it, or why any prejudice was not dispelled by cross-examination of

Vauk.      Accordingly, the court concludes that Defendants’ use of

sample demonstratives was neither improper nor prejudicial.




     121
       Defendants’ Response to Magçmâ’s MNT, Docket Entry No. 293,
p. 19 (citing Trial Transcript Day 2, Docket Entry No. 285, pp. 2-
218:22-219:24; Trial Transcript Day 3, Docket Entry No. 286, pp. 3-
26:15-27:20).

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     4.       Defendants’ Closing Arguments Were Not Improper

     Citing      the    following    statement   from      Defendants’   closing

argument, Magçmâ argues that Defendants’ counsel made factually

incorrect and prejudicial closing arguments to the jury:

     But folks, there’s no way I can put it any plainer than
     this. This wrong place to sample is wrong because if it
     were true and gases were coming out at the surge drum,
     all hell would have broken loose at the refinery. Alarm
     bells would have gone on. Because what’s one of the most
     dangerous conditions in a refinery? Escaping gas. And
     that has never happened.122

Asserting      that     “[t]here    is   absolutely   no    support   for   this

argument,”123 Magçmâ argues that this statement contradicts both the

testimony of Allen, Bayway’s former technical manager and current

maintenance manager, and Defendants’ own documents.124                   Magçmâ

argues that

     [t]his is not the only example of unsupported statements
     in [Defendants’] closing arguments. [Defendants’] counsel
     also argued about designing around the patented
     technology — ‘It’s just not that hard.’ . . . Yet the
     quote he references was never discussed by any witness at
     trial nor did any technical witness offer any opinion
     that it would or would not be difficult to design around
     the patents.       These significant and prejudicial
     statements in [Defendants’] closing arguments — in
     addition to others discussed in preceding sections —
     lacked evidentiary basis.125


     122
       Magçmâ’s MNT, Docket Entry No. 292, pp. 24-25 (citing Trial
Transcript Day 6, Docket Entry No. 289, p. 6-104:3-9 (emphasis in
original)).
     123
           Id. at 25.
     124
       Id. (citing Trial Transcript Day 6, pp. 6-28:8-10 and 6-
38:14-39:13, and Plaintiff’s Trial Exhibit 658, Docket Entry
No. 279-35).
     125
           Id. at 26.

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       Citing Nissho-Iwai Co., 848 F.2d at 619, Defendants respond

that     “Magçmâ’s        ‘failure    to     object    contemporaneously      during

[Defendants’] closing argument’ means it has ‘waived this point’ as

a basis for a Rule 59 motion for a new trial.”126                   Defendants also

argue that despite Magçmâ’s contention to contrary, there was

nothing        improper    about     their    closing       arguments   because   the

challenged statements are supported by the record.127

       The closing arguments made by defense counsel about which

Magçmâ complains were made without objection at trial.                    Objections

to    improper     closing    arguments       not    made    contemporaneously    are

waived, and Magçmâ is, therefore, “barred from urging the improper

arguments as grounds for a new trial after the jury . . . returned

its verdict.”        Nissho-Iwai Co., 848 F.2d at 619.              In the event of

waiver, a court may grant a new trial only if the closing argument

“affect[s] the substantial rights of the parties’” by, for example,

“seriously prejudic[ing the movant’s] right to a fair trial.”

Edwards v. Sears, Roebuck and Co., 512 F.2d 276, 286 (5th Cir.

1975) (quoting Fed. R. Civ. P. 61).                 See also Baisden v. I’m Ready

Productions, Inc., 693 F.3d 491, 509 n. 17 (5th Cir. 2012), cert.

denied, 133 S. Ct. 1585 (2013) (movant who failed to object to

closing argument at trial must show “the statements rise to the

level of severity that would require a new trial to avoid a

miscarriage of justice”).              Magçmâ neither argues nor makes any


       126
             Defendants’ Response to Magçmâ’s MNT, Docket Entry No. 293,
p. 20.
       127
             Id. at 20-21.

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showing that the closing statements about which is complains

require a new trial to avoid a miscarriage of justice.                   Even if

Magçmâ had objected to the challenged statements at trial, those

statements would not warrant relief because they are supported by

the   record,     and   because   Magçmâ    fails   to   explain   how   it   was

prejudiced by them.

      Magçmâ argues that defense counsel’s statement that “if . . .

gases were coming out at the surge drum, all hell would have broken

loose at the refinery,” is not supported by the record, because

Allen testified that “if there was gasoline-type molecules going

down there with high flows or high amounts, it would overwhelm the

system,”128 but “did not testify that if any gases were coming out

at the surge drum ‘all hell would have broken loose.’”129 Magçmâ

argues that Dr. Loezos, Magçmâ’s expert on hydroprocessing and

analysis of operational data and physical properties,130 was clear

that “removing small amounts [of gas] . . . has a dramatic impact

on flash;”131 a point with which Allen appears to agree.132                While

      128
       Magçmâ’s MNT, Docket Entry No. 292, p. 25 (citing Trial
Transcript Day 6, Docket Entry No. 289, p. 6-39:7-13 (emphasis in
original)).
      129
            Id.
      130
       Trial Transcript Day 3, Docket Entry No. 286, p. 3-170:9-12
(identifying Dr. Loezos as an expert).
      131
       Magçmâ’s MNT, Docket Entry No. 292, p. 25 (citing Trial
Transcript Day 3, Docket Entry No. 286, pp. 3-188:24-25 and 3-
206:9-10).
      132
            Id. (citing Trial Transcript Day 6, Docket Entry No. 289,
                                                       (continued...)

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defense counsel’s statement that “all hell would have broken

loose,” may have been hyperbolic, because the parties vigorously

contested — and presented conflicting evidence — on the impact that

Drum D-101 had on gases that effect flash point of the material

hydroprocessed at the Bayway refinery, the court is not persuaded

that the challenged statement is not supported by the record.

      Magçmâ argues that defense counsel’s argument “about designing

around the patented technology — ‘It’s just not that hard.’ . . .

was never discussed by any witness at trial,” but the Due Diligence

Report that Freepoint Commodities prepared for Magçmâ and Rigby,

which was Defense Exhibit 349, states in pertinent part that “[t]he

Rigby        Process   can    be     circumvented      using   conventional

desulfurization designs.           Similar ISO-compliant desulfurization

processes may also be built without infringing on the Rigby Process

IP by . . . designing around the Rigby Process IP.”133          This report

was   admitted     into   evidence   during   direct   examination   of   Tom

Britven, Defendants’ damages expert.134         Because defense counsel’s

closing statement is taken almost verbatim from the Freepoint

Commodities Due Diligence Report, the court is not persuaded that

this statement was not supported by the record.


      132
       (...continued)
p. 6-25:22-23).
      133
       Freepoint Commodities, LLC: Rigby Refining Project Technical
Due Diligence Report, p. 4, Defendants’ Trial Exhibit 349, Docket
Entry No. 271-7, p. 5.
      134
            Trial Transcript Day 5, Docket Entry No. 288, p. 5-207:10-
21.

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       Magçmâ argues that defense counsel made statements during

closing arguments that were unsupported by the record, but the

court’s review of the challenged statements and the underlying

evidence          leads   it   to    conclude    that    the   statements    were   not

unsupported by the record.                Moreover, because Magçmâ failed to

object to the statements at trial, and failed to explain in its

briefing how these statements prejudice it, the court concludes

that     the       challenged       statements        were   neither   improper     nor

prejudicial.



F.     The Jury’s Verdict Is Not Against the Great Weight of the
       Evidence

       Asserting that the jury’s verdict that Defendants’ Bayway

refinery did not infringe Claims 1 and 5 of the ’884 Patent is

against the great weight of the evidence, Magçmâ argues that a new

trial        is    warranted    to    prevent     a     miscarriage    of   justice.135

Summarizing evidence that it contends establish that Defendants’

Bayway refinery infringed Claims 1 and 5 of the ’884 Patent, and

citing Edwards, 512 F.2d at 276, and Whitehead v. Food Max of

Mississippi, Inc., 163 F.3d 265 (5th Cir. 1998),                       Magçmâ argues

that Defendants’

       trial strategy was to distract the jury from the actual
       issues that they were tasked to decide. The cumulative
       violations of the Court’s claim construction order,
       [Defendants’]    reference   to   excluded    evidence,


       135
             Magçmâ’s MNT, Docket Entry No. 292, pp. 26-29.

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        [Defendants’] fabrication of requirements not present in
        the claims or constructions, and other improper arguments
        warrant a new trial to allow justice to be served.136

        Defendants respond that Magçmâ is not entitled to a new trial

based on the weight of the evidence for claims on which it bore the

burden of proof because “there is always a ‘reasonable basis’ for

a verdict against the party with the burden of proof.”137            Asserting

that “Magçmâ raises two complaints: that the jury rejected Magçmâ’s

argument that the Accused Products were merchantable, and that the

jury     rejected       Magçmâ’s   argument    that   the   hydroprocessor    is

delineated by the reactor rather than the battery limits,”138

Defendants argue that both these issues were “hotly contested

issues on which [they] presented ample competing evidence.                   The

jury had every right to determine that Magçmâ, as the party with

the burden of proof on both these issues, failed to carry that

burden.”139         The court agrees.

       Magçmâ did not move for judgment as a matter of law at the

close of its evidence, and was content to submit the case to the

jury.         The jury returned a unanimous verdict.        Despite the court’s

conclusion in § III.B.3, above, that Defendants improperly argued

that actual test data was required to prove infringement, and that


        136
              Id. at 29.
        137
              Defendants’ Response to Magçmâ’s MNT, Docket Entry No. 293,
p. 22.
        138
              Id.
        139
              Id.

                                        -50-
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Magçmâ was thereby, prejudiced, the court has already explained its

reasons for concluding that that prejudice is not sufficient to

warrant a new trial.     Moreover, Magçmâ’s reliance on Edwards and

Whitehead in support of its MNT is misplaced.

     Whitehead was a civil suit against a retailer resulting from

the kidnapping at knife-point of a mother and daughter from the

store’s parking lot during which the mother was sexually assaulted.

163 F.3d at 268.     The Fifth Circuit remanded the case for a new

trial after finding that counsel for the plaintiff engaged in a

litany of improper arguments that the Fifth Circuit found highly

prejudicial to the defendants.        Id. at 276.    Edwards was a civil

suit against    a   retailer   for   wrongful   death   in   an   automobile

collision allegedly caused by faulty tires purchased from the

defendant.    In Edwards the Fifth Circuit held that a new trial was

necessary “to avoid a miscarriage of justice,” 512 F.3d at 286,

based on closing arguments by plaintiff’s counsel, even though

defense counsel failed to object at trial.          There, counsel

     discussed with the jury the value which his own son would
     place on his father’s life, played on counsel’s personal
     association with the deceased, evoked the image of [the]
     deceased’s children crying at [the] graveside and
     forlornly awaiting the return of their father, and urged
     upon the jury the need for retributive payments from
     defendants.

Id. at 285.     The conduct of defense counsel about which Magçmâ

complains is nothing comparable to the conduct that lead the Fifth

Circuit to grant new trials in either Whitehead or Edwards.



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     Because   the   parties presented conflicting evidence on the

disputed issues from which the jury could reasonably have concluded

that Magema did not prove its claims by a preponderance of the

evidence, the court will not disturb the jury's verdict by ordering

a new trial.   After considering the record as a whole, the court is

not persuaded that manifest injustice will result from letting the

verdict stand.



                      IV.   Conclusisons and Order

     For the reasons stated above in§ III, Magema's Rule 59 Motion

for New Triall, Docket Entry No. 2 92, is DENIED. 140

     SIGNED at Houston, Texas, on                                      2023.




                                                SIM LAKE
                                   SENIOR UNITED STATES DISTRICT JUDGE




     140
       The court has allowed the parties extraordinary leeway in
submitting lengthy briefs and other written materials in connection
with the pending motions. As the length of this Memorandum Opinion
and Order indicates, the court has expended considerable time
reading these papers and performing a significant amount of
independent research to be as fully informed as possible when
addressing the parties' arguments.    While, because of the sheer
volume of information presented, it is not impossible that some
arguments were overlooked, the parties should assume that failure
to expressly address a particular argument in this Memorandum
Opinion and Order reflects the court's judgment that the argument
lacked sufficient merit to warrant discussion.     Accordingly, the
court strongly discourages the parties from seeking reconsideration
based on arguments that they have previously raised or that they
could have raised.

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